
BOLIN, Justice.
We hereby suspend the provisions of Rule 39(g) and (h), Ala. R.App. P., allowing the petitioner and the respondent to file a brief and to request oral argument, and we summarily grant the writ. In an opinion released today, this Court overrules Wells v. State, 941 So.2d 1008 (Ala.Crim.App.2005), to the extent that it created a limitation on a trial court’s jurisdiction to consider successive § 13A-5-9.1, Ala.Code 1975, motions. See Ex parte Gunn, 993 So.2d 433 (Ala.2007). The Court of Criminal Appeals relied solely on Wells in affirming the trial court’s judgment. Therefore, we reverse the judgment of the Court of Criminal Appeals and remand the ease for proceedings consistent with Gunn.
WRIT GRANTED; REVERSED AND REMANDED. 
SEE, LYONS, WOODALL, SMITH, PARKER, and MURDOCK, JJ., concur.
STUART, J., concurs specially.
COBB, C.J., recuses herself.
